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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

 UNITED STATES OF AMERICA,                        §
                                                  §
         Plaintiff,                               §
                                                  §
 v.                                               §     Case No. 1:21-cv-00796-RP
                                                  §
 THE STATE OF TEXAS,                              §
                                                  §
         Defendant.                               §

                                TEXAS’S NOTICE OF APPEAL

       Pursuant to Federal Rules of Appellate Procedure 3(a)(1) and 4(a)(1)(A), Defendant the State

of Texas gives this notice of appeal to the United States Court of Appeals for the Fifth Circuit from

the order granting the plaintiff’s motion for a preliminary injunction entered in this case on October

6, 2021. See ECF 68. This appeal is related to the pending appeal in Whole Woman’s Health v. Jackson,

No. 21-50792 (5th Cir.).




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Date: October 6, 2021              Respectfully submitted.
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                                     CERTIFICATE OF SERVICE

         I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on October 6, 2021, and that all counsel of record were served by CM/ECF. I further
certify that a true and accurate copy of the foregoing document will be emailed to pro se Intervenor
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                                               /s/ William T. Thompson
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